                                                                               EXHIBIT B

                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 FS MEDICAL SUPPLIES, LLC,

         Plaintiff,
 v.
                                                                  Civil Action Nos.
 TANNERGAP, INC. et al.                                       3:21-CV-501-RJC-WCM
                                                              3:23-CV-598-RJC-WCM
         Defendants.


                                 DECLARATION OF TIM KIEFER

        I, Tim Kiefer, declare as follows:

        1.      I am over the age of 21 years and under no legal disability that would prevent me

from giving this declaration.

        2.      I am a Forensics Manager at Innovative Driven (ID), where I provide services to

law firms and other clients in the field of data collection and forensic analysis in connection with

litigation and other projects.

        3.      In 2013, I received a Bachelor’s Degree, summa cum laude, in Cybersecurity and

Information Assurance with a concentration in Cybercrime Investigations and Forensics from

Utica College. I am a Certified eDiscovery Specialist recognized by Nuix (a leading provider of

investigative and analytic software) and Certified Computer Examiner (CCE) recognized by the

International Society of Forensic Computer Examiners (ISFCE).

        4.      I have been employed in the field of gathering, processing, and analyzing digital

evidence since 2013, and I have been with Innovative Driven since 2019. My digital evidence

collection experience includes both on-site and remote collections involving systems including

servers, desktops, laptops, and personal mobile phones.




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       5.         Where collections from mobile phones are concerned, the ordinary workflow is to

create a full forensic extraction of the device, filter the extraction post-collection, and export

specific data for processing. The collection process involves connecting the device to a computer

with specific forensic software installed. Whether performed remotely by shipping the necessary

equipment to the phone owner or on-site, the software is used to create an extraction of the device.

The extraction is written to encrypted external media and then transferred to a central location (like

a forensic lab) for further processing.

       6.         During the course of my career, I have encountered custodians who are reluctant to

allow their mobile phones to be forensically imaged using the ordinary procedure described above

based on privacy concerns. These custodians are typically worried that irrelevant communications

and data of a personal nature will be viewed or disclosed to others, or that the forensic image of

their entire device might be exposed in a data breach. ID and similar forensic firms have specially

tailored workflows to address these concerns.

       7.         Under one such workflow, the forensic firm sends a technician to collect data

directly from and in the presence of the custodian. A computer that is not connected to the Internet

is connected to the mobile device. A forensic image is extracted from the device and written

directly to an encrypted external hard drive. Then, a computerized “filter” (or search) of the

forensic extraction is conducted using parameters provided to the technician by counsel. For

messaging applications like iMessage and WhatsApp, these search parameters can include the

sender or recipient of a message and a defined time period. For example, the forensic extraction

could be searched for all text messages to or from a particular work colleague from a particular

period of time.




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        8.     After the filter is run, the records returned by the search (and only those records)

are exported to a report file on a secondary encrypted hard drive. At no point during the extraction

or filtering processes is the data transmitted elsewhere via the Internet – it remains on the encrypted

media to which it is written.

        9.     Upon completion of the extraction and filtering, both hard drives are disconnected

from the collection equipment and locked. The secondary hard drive with the targeted data set is

transferred to the vendor for processing. The primary hard drive with the full extraction is either

given to the custodian or permanently deleted in the custodian’s presence (as the custodian

prefers).

        I declare under penalty of perjury that the foregoing is true and correct.



        Executed on October 3, 2024, in Rochester, New York.



                                               __________________________________

                                               Tim Kiefer




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